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CERTIFICATE OF ACCURACY

This is to certify that the attached documents for Civil Action No. 3:07-cv-05944-SC; MDL No.
1917, The State of California, et al. v. Samsung SDI, Co, Ltd, et al. (in re Cathode Ray Tude (CRT)
Antitrust Litigation), “Amended Notice of Deposition of Leo Mink”, “Renewed Request for
International Judicial Assistance Pursuant to Letters Rogatory” and “Amended Subpoena to
Testify at a Deposition in a Civil Action”, originally written in English are, to the best of my
knowledge and belief, true, accurate, and a complete translation into Dutch.

Dated: March 31, 2014

Translator
